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11                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
12
13   JOSEPH BOND, individually and on      )          Case No.
14   behalf of all others similarly situated,
                                           )
                                           )          CLASS ACTION
15   Plaintiff,                            )
16                                         )          COMPLAINT FOR VIOLATIONS
            vs.                            )          OF:
17
                                           )
18   PREMIER STUDENT LOANS, INC., )                      1.      NEGLIGENT VIOLATIONS
     and DOES 1 through 10, inclusive, and )                     OF THE TELEPHONE
19                                                               CONSUMER PROTECTION
     each of them,                         )                     ACT [47 U.S.C. §227(b)]
20                                         )             2.      WILLFUL VIOLATIONS
     Defendant.                                                  OF THE TELEPHONE
21                                         )                     CONSUMER PROTECTION
                                           )                     ACT [47 U.S.C. §227(b)]
22
                                           )
23                                         )          DEMAND FOR JURY TRIAL
24         Plaintiff JOSEPH BOND (“Plaintiff”), individually and on behalf of all
25   others similarly situated, alleges the following upon information and belief based
26   upon personal knowledge:
27                                NATURE OF THE CASE
28         1.     Plaintiff brings this action individually and on behalf of all others


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 1   similarly situated seeking damages and any other available legal or equitable
 2   remedies resulting from the illegal actions of PREMIER STUDENT LOANS, INC.
 3   (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 4   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 5   Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related regulations, thereby invading
 6   Plaintiff’s privacy and causing her to incur unnecessary and unwanted expenses.
 7                              JURISDICTION & VENUE
 8         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
 9   a resident of Georgia, seeks relief on behalf of a Class, which will result in at least
10   one class member belonging to a different state than that of Defendant, a California
11   corporation doing business within and throughout the state. Plaintiff also seeks up
12   to $1,500.00 in damages for each call in violation of the TCPA, which, when
13   aggregated among a proposed class in the thousands, exceeds the $5,000,000.00
14   threshold for federal court jurisdiction. Therefore, both diversity jurisdiction and
15   the damages threshold under the Class Action Fairness Act of 2005 (“CAFA”) are
16   present, and this Court has jurisdiction.
17         3.     Venue is proper in the United States District Court for the Central
18   District of California pursuant to 28 U.S.C. § 1391(b)(1) because Defendant is
19   subject to personal jurisdiction in the County of Orange, State of California as a
20   resident and where the events giving ruse to the lawsuit occurred.
21                                        PARTIES
22         4.     Plaintiff, JOSEPH BOND (“Plaintiff”), is a natural person residing in
23   DeKalb, Georgia and is a “person” as defined by 47 U.S.C. § 153 (39).
24         5.     Defendant, PREMIER STUDENT LOANS, INC. (“Defendant”), is a
25   document preparation and consulting company, and is a “person” as defined by 47
26   U.S.C. § 153 (39).
27         6.     The above named Defendant, and its subsidiaries and agents, are
28   collectively referred to as “Defendants.” The true names and capacities of the


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 1   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 2   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 3   names. Each of the Defendants designated herein as a DOE is legally responsible
 4   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 5   Complaint to reflect the true names and capacities of the DOE Defendants when
 6   such identities become known.
 7         7.     Plaintiff is informed and believes that at all relevant times, each and
 8   every Defendant was acting as an agent and/or employee of each of the other
 9   Defendants and was acting within the course and scope of said agency and/or
10   employment with the full knowledge and consent of each of the other Defendants.
11   Plaintiff is informed and believes that each of the acts and/or omissions complained
12   of herein was made known to, and ratified by, each of the other Defendants.
13                              FACTUAL ALLEGATIONS
14         8.     Beginning in or around January of 2018, Defendant contacted Plaintiff
15   on Plaintiff’s cellular telephone number ending in -1282, in an attempt to solicit
16   Plaintiff to purchase Defendant’s services.
17         9.     When Plaintiff answered Defendant’s call, a prerecorded message was
18   played.
19         10.    Defendant used an “automatic telephone dialing system” as defined
20   by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
21         11.    Defendant contacted or attempted to contact Plaintiff from telephone
22   numbers 585-312-1794 and 252-921-0011 confirmed to belong to Defendant.
23         12.    Defendant’s call constituted calls that were not for emergency
24   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
25         13.    Defendant’s calls were placed to telephone number assigned to a
26   cellular telephone service for which Plaintiff incurs a charge for incoming calls
27   pursuant to 47 U.S.C. § 227(b)(1).
28         14.    During all relevant times, Defendant did not possess Plaintiff’s “prior


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 1   express consent” to receive calls using an automatic telephone dialing system or an
 2   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 3   227(b)(1)(A).
 4         15.    Defendant placed multiple calls soliciting its business to Plaintiff on
 5   his cellular telephone ending in -1282 on or around January 16, 2018 and on or
 6   around July 2, 2018.
 7         16.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
 8   64.1200(c)(2) as it was an attempt to promote or sell Defendant’s services.
 9         17.    Plaintiff received numerous solicitation calls from Defendant within a
10   12-month period.
11         18.    Upon information and belief, and based on Plaintiff’s experiences of
12   being called by Defendant despite having no prior relation to Plaintiff whatsoever,
13   and at all relevant times, Defendant failed to establish and implement reasonable
14   practices and procedures to effectively prevent telephone solicitations in violation
15   of the regulations prescribed under 47 U.S.C. § 227(c)(5).
16                               CLASS ALLEGATIONS
17         19.    Plaintiff brings this action individually and on behalf of all others
18   similarly situated, as a member of the proposed class (hereinafter, “The Class”),
19   defined as follows:
20
21                All persons within the United States who received any
                  solicitation/telemarketing   telephone   calls    from
22                Defendant to said person’s cellular telephone made
23                through the use of any automatic telephone dialing
                  system or an artificial or prerecorded voice and such
24
                  person had not previously consented to receiving such
25                calls within the four years prior to the filing of this
26
                  Complaint

27
           20.    Plaintiff represents, and is a member of, The Class, consisting of all
28
     persons within the United States who received any solicitation/telemarketing

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 1   telephone calls from Defendant to said person’s cellular telephone made through
 2   the use of any automatic telephone dialing system or an artificial or prerecorded
 3   voice and such person had previously not provided their cellular telephone number
 4   to Defendant within the four years prior to the filing of this Complaint.
 5         21.    Defendant, its employees and agents are excluded from The Class.
 6   Plaintiff does not know the number of members in The Class, but believes the
 7   Class’s members number in the thousands, if not more. Thus, this matter should
 8   be certified as a Class Action to assist in the expeditious litigation of the matter.
 9         22.    The Class is so numerous that the individual joinder of all of its
10   members is impractical. While the exact number and identities of The Class
11   members are unknown to Plaintiff at this time and can only be ascertained through
12   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
13   The Class includes thousands of members.           Plaintiff alleges that The Class
14   members may be ascertained by the records maintained by Defendant.
15         23.    Plaintiff and members of The Class were harmed by the acts of
16   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
17   and The Class members via their cellular telephones thereby causing Plaintiff and
18   The Class members to incur certain charges or reduced telephone time for which
19   Plaintiff and The Class members had previously paid by having to retrieve or
20   administer messages left by Defendant during those illegal calls, and invading the
21   privacy of said Plaintiff and The Class members.
22         24.    Common questions of fact and law exist as to all members of The
23   Class which predominate over any questions affecting only individual members of
24   The Class. These common legal and factual questions, which do not vary between
25   Class members, and which may be determined without reference to the individual
26   circumstances of any Class members, include, but are not limited to, the following:
27                a.     Whether, within the four years prior to the filing of this
28                       Complaint, Defendant made any telemarketing/solicitation call


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 1                      (other than a call made for emergency purposes or made with
 2                      the prior express consent of the called party) to a Class member
 3                      using any automatic telephone dialing system or any artificial
 4                      or prerecorded voice to any telephone number assigned to a
 5                      cellular telephone service;
 6                b.    Whether Plaintiff and The Class members were damaged
 7                      thereby, and the extent of damages for such violation; and
 8                c.    Whether Defendant should be enjoined from engaging in such
 9                      conduct in the future.
10         25.    As a person that received numerous telemarketing/solicitation calls
11   from Defendant using an automatic telephone dialing system or an artificial or
12   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
13   claims that are typical of The Class.
14         26.    Plaintiff will fairly and adequately protect the interests of the members
15   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
16   class actions.
17         27.    A class action is superior to other available methods of fair and
18   efficient adjudication of this controversy, since individual litigation of the claims
19   of all Class members is impracticable. Even if every Class’s member could afford
20   individual litigation, the court system could not. It would be unduly burdensome
21   to the courts in which individual litigation of numerous issues would proceed.
22   Individualized litigation would also present the potential for varying, inconsistent,
23   or contradictory judgments and would magnify the delay and expense to all parties
24   and to the court system resulting from multiple trials of the same complex factual
25   issues. By contrast, the conduct of this action as a class action presents fewer
26   management difficulties, conserves the resources of the parties and of the court
27   system, and protects the rights of each Class member.
28         28.    The prosecution of separate actions by individual Class members


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 1   would create a risk of adjudications with respect to them that would, as a practical
 2   matter, be dispositive of the interests of the other Class members not parties to such
 3   adjudications or that would substantially impair or impede the ability of such non-
 4   party Class members to protect their interests.
 5         29.    Defendant has acted or refused to act in respects generally applicable
 6   to The Class, thereby making appropriate final and injunctive relief with regard to
 7   the members of the Classes as a whole.
 8                             FIRST CAUSE OF ACTION
 9          Negligent Violations of the Telephone Consumer Protection Act
10                                   47 U.S.C. §227(b).
11                                 On Behalf of The Class
12         30.    Plaintiff repeats and incorporates by reference into this cause of action
13   the allegations set forth above at Paragraphs 1-29.
14         31.    The foregoing acts and omissions of Defendant constitute numerous
15   and multiple negligent violations of the TCPA, including but not limited to each
16   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
17   47 U.S.C. § 227 (b)(1)(A).
18         32.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
19   Plaintiff and the Class Members are entitled an award of $500.00 in statutory
20   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
21         33.    Plaintiff and The Class members are also entitled to and seek
22   injunctive relief prohibiting such conduct in the future.
23                           SECOND CAUSE OF ACTION
24    Knowing and/or Willful Violations of the Telephone Consumer Protection
25                                           Act
26                                   47 U.S.C. §227(b)
27                                 On Behalf of The Class
28         34.    Plaintiff repeats and incorporates by reference into this cause of action


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 1   the allegations set forth above at Paragraphs 1-29.
 2         35.    The foregoing acts and omissions of Defendant constitute numerous
 3   and multiple knowing and/or willful violations of the TCPA, including but not
 4   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
 5   and in particular 47 U.S.C. § 227 (b)(1)(A).
 6         36.    As a result of Defendant’s knowing and/or willful violations of 47
 7   U.S.C. § 227(b), Plaintiff and The Class members are entitled an award of
 8   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 9   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
10         37.    Plaintiff and the Class members are also entitled to and seek injunctive
11   relief prohibiting such conduct in the future.
12                                PRAYER FOR RELIEF
13   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
14                             FIRST CAUSE OF ACTION
15          Negligent Violations of the Telephone Consumer Protection Act
16                                   47 U.S.C. §227(b)
17                As a result of Defendant’s negligent violations of 47 U.S.C.
18                §227(b)(1), Plaintiff and The Class members are entitled to and
19                request $500 in statutory damages, for each and every violation,
20                pursuant to 47 U.S.C. 227(b)(3)(B).
21                Any and all other relief that the Court deems just and proper.
22                           SECOND CAUSE OF ACTION
23    Knowing and/or Willful Violations of the Telephone Consumer Protection
24                                           Act
25                                   47 U.S.C. §227(b)
26                As a result of Defendant’s willful and/or knowing violations of 47
27                U.S.C. §227(b)(1), Plaintiff and The Class members are entitled to
28                and request treble damages, as provided by statute, up to $1,500, for


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 1                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
 2                U.S.C. §227(b)(3)(C).
 3                Any and all other relief that the Court deems just and proper.
 4                                    JURY DEMAND
 5         38.    Pursuant to the Seventh Amendment to the Constitution of the United
 6   States of America, Plaintiff is entitled to, and demands, a trial by jury.
 7
           Respectfully Submitted this 14th Day of August, 2018.
 8
                                LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 9
10                                     By: /s/ Todd M. Friedman
                                           Todd M. Friedman
11
                                           Law Offices of Todd M. Friedman
12                                         Attorney for Plaintiff
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